960 F.2d 146
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Juan M. GORDON, Plaintiff-Appellant,v.R. V. SMITH, Defendant-Appellee.
    No. 92-6132.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 6, 1992Decided:  April 21, 1992
    
      Before ERVIN, Chief Judge, and MURNAGHAN and WILLIAMS, Circuit Judges.
      Juan M. Gordon, Appellant Pro Se.
      OPINION
      PER CURIAM:
    
    
      1
      Juan M. Gordon appeals the district court's order dismissing this action filed under 42 U.S.C. § 1983 (1988).  Acting pursuant to 42 U.S.C. § 1997e (1988), the district court ordered Plaintiff to exhaust administrative remedies and to advise the court within one hundred days of the result of the administrative proceedings.  It warned Plaintiff that failure to advise the court regarding exhaustion would result in dismissal of the action.  Plaintiff failed to comply with this order, and the district court dismissed the case without prejudice upon expiration of the allowed period.*
    
    
      2
      The district court could properly require exhaustion of administrative remedies under 42 U.S.C. § 1997e.  Its dismissal of the action, without prejudice, when Plaintiff failed to comply with its order was not an abuse of discretion.  We therefore affirm the judgment below.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         Following the expiration of the 100-day period, the district court gave Gordon an additional 30 days to demonstrate administrative exhaustion and still received no information from him
      
    
    